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           16

           17                                  UNITED STATES DISTRICT COURT

           18                               NORTHERN DISTRICT OF CALIFORNIA

           19                                         OAKLAND DIVISION

           20    ROBERT ROSS,                                 CASE NO. 4:19-CV-06669 (JST)
           21                         Plaintiff,              JOINT SUBMISSION REGARDING
                                                              MEDIATION AND PRE-MEDIATION
           22           v.                                    DISCOVERY
           23    AT&T MOBILITY LLC,
           24                         Defendant.
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                                       JOINT [PROPOSED] MEDIATION DISCOVERY SCHEDULE
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            1     JOINT SUBMISSION REGARDING MEDIATION AND PRE-MEDIATION DISCOVERY
            2            Pursuant to this Court’s May 19, 2020 order, Plaintiff Robert Ross (“Mr. Ross”) and Defendant
            3    AT&T Mobility LLC (“AT&T”) (collectively, “the Parties”) hereby submit this Joint Submission
            4    Regarding Mediation and Pre-Mediation Discovery.
            5                                         I. Information to Be Disclosed
            6            The Parties do not, by jointly filing this submission, waive any objections to the relevance,
            7    discoverability, or admissibility of any evidence described herein.
            8    A.      Defendant’s Statement
            9            AT&T believes that it would be useful for the parties to begin discussing possible resolution of
           10    the suit even before commencing substantial discovery, as such discussion can sharpen focus on the
           11    issues that warrant discovery before a settlement could be reached. However, before any settlement
           12    other than a walkaway could be consummated, AT&T would need information from Mr. Ross
           13    sufficient to assess the extent to which he suffered any loss and the effect of the actions of other parties
           14    (including Mr. Ross) on the ability of criminal hackers to steal his funds. Accordingly, AT&T believes
           15    that the following written discovery would be useful for AT&T to evaluate the strength of Mr. Ross’s
           16    case:
           17            1.     Documentation demonstrating Mr. Ross’s entitlement to or ownership of approximately
           18    $500,000 in his Gemini account, $500,000 in his Coinbase account, and $3,000 in his Binance account.
           19            2.     Documentation showing that exact storage method for the approximately $500,000 in
           20    his Gemini account, $500,000 in his Coinbase account, and $3,000 in his Binance account. For
           21    example, whether the funds were stored in a wallet or directly on an exchange.
           22            3.     Documentation showing the precise cryptocurrency purchases and subsequent transfers
           23    that Mr. Ross alleges were thefts or otherwise unauthorized, which should include the dates, times,
           24    origin and destination, full transaction IDs, and amounts of each purchase and transfer.
           25            4.     Documentation of the types of currency held in Mr. Ross’s Gemini, Coinbase, and
           26    Binance accounts, whether cryptocurrency or otherwise.
           27            5.     Documentation of the devices, websites, apps that Mr. Ross used to access his Gemini,
           28    Coinbase, and Binance accounts.

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            1           6.      Documentation showing the information criminals were required to have to access Mr.
            2    Ross’s Gemini, Coinbase, and Binance accounts.
            3           7.      Documentation of how and from where criminals obtained any of the information
            4    identified in response to Request No. 6.
            5           8.      Documentation of the types of security used for Mr. Ross’s Gemini, Coinbase, and
            6    Binance accounts, and any differences in the type of security based on the device, website, or app he
            7    used to access these accounts. For example, evidence of whether Mr. Ross used Google Authenticator
            8    for 2-factor (aka 2-step) verification or an alternative security measure.
            9           9.      Documentation of the processes associated with accessing and transferring the
           10    cryptocurrency in the accounts to which Mr. Ross claims others gained unauthorized access.
           11           10.     Copies of any emails to Mr. Ross’s Google, Yahoo!, or any other email account
           12    confirming password changes to Mr. Ross’s Gemini, Coinbase, and Binance accounts.
           13           11.     Documentation of all Mr. Ross’s dealings to restore access to his Gemini, Coinbase,
           14    Binance, and relevant email accounts.
           15           12.     Copies of the notifications Mr. Ross alleged he received showing that someone was
           16    attempting to withdraw funds from his accounts.
           17           13.     Documentation of any wireless activity in October 2018 on all wireless carriers used by
           18    Mr. Ross.
           19           14.     Documentation of any prior hacks or compromises of Mr. Ross’s mobile devices.
           20           15.     Documentation of any prior hacks or compromises of any online account where Mr.
           21    Ross stored a record of any password or security credential for other accounts.
           22           16.     Identification of any lawsuits that Mr. Ross has filed against other entities or persons
           23    arising out of or relating to the claims and/or losses he is asserting here, as well as any judgments or
           24    amounts recovered from those entities or persons.
           25           17.     Information regarding any requests Mr. Ross has made to any insurer for the amounts
           26    stolen from his accounts as a result of or in connection with the facts alleged in his Complaint and any
           27    amounts recovered from those insurers.
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            1           18.     All documentation and information that Mr. Ross has provided to the FBI, the Secret
            2    Service, and/or any other governmental agency or branch investigating the alleged theft of his funds,
            3    unless such information cannot be provided under applicable law or is otherwise prohibited.
            4           Notably, AT&T may need further discovery as its investigation continues, including, without
            5    limitation, a possible deposition of Mr. Ross.
            6    B.     Plaintiff’s Statement
            7           Plaintiff believes that a meaningful mediation requires, at a minimum, the production of
            8    documents and deposition(s). Plaintiff anticipates seeking, without limitation, documents relating to
            9    the following topics:
           10           1.      Documents relating to ATT’s policies, practices, and procedures (a) for safeguarding
           11    customer information; (b) obtaining customer authorizations for in-person and remote SIM swaps of
           12    ATT phones and for non-ATT phones (i.e. customer owned and maintained phones); (c) training and
           13    supervising its employees about safeguarding of customer information, including SIM swaps; (d)
           14    disciplining its employees for policy violations relating to customer privacy; (e) preventing
           15    unauthorized SIM swaps; and (f) changes to policies, practices and procedures for preventing
           16    unauthorized SIM swaps since the time of plaintiff’s SIM swap.
           17           2.      Documents relating to the unauthorized SIM swap on plaintiff’s phone on October 26,
           18    2018, including (a) the customer data about plaintiff available to the ATT representative who
           19    implemented the unauthorized SIM swap; (b) the procedures used to implement the unauthorized SIM
           20    swap; (d) notes taken by the ATT customer service representative about the unauthorized SIM swap;
           21    (e) recordings of the call(s) made by the hackers who requested the unauthorized SIM swap; (f) the
           22    data available about the mobile device used by the hackers; (g) communications with the ATT
           23    employee(s) involved in the unauthorized SIM swap; (h) communications with the hacker(s) who
           24    requested the unauthorized SIM swap; (i) communications with plaintiff; (i) communications with
           25    Apple representative(s); (j) communications with law enforcement, including the REACT team; (k)
           26    ATT’s internal investigation.
           27           3.      Documents relating to discipline of the particular ATT customer service representative
           28    who implemented the unauthorized SIM swap.

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            1           4.      Documents relating to ATT’s reporting of unauthorized SIM swaps to the FCC from
            2    2013 to the present.
            3           5.      Documents authored by ATT relating to combating unauthorized SIM swaps.
            4           6.      Documents relating to any cost-benefit analysis conducted by ATT relating to
            5    implementing measures to prevent unauthorized SIM swaps.
            6           7.      Board minutes and committee minutes relating to unauthorized SIM swaps.
            7                                            II. Mediation Specifics
            8           The Parties agree that an initial mediation session should occur by September 30, 2020, either
            9    in-person if possible or, if not, via telephone and/or videoconference, subject to the availability of the
           10    selected mediator. Based on that timing, the Parties agree that the case management report and
           11    conference scheduled for September would be more useful in October, and will submit a joint motion
           12    on that issue. The Parties have discussed the selection of an appropriate mediator and believe they can
           13    reach agreement regarding a mediator or a process for mediator selection. However, the Parties believe
           14    additional time is necessary to reach agreement on a mediator and/or mediator selection process.
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            1    Dated: May 29, 2020
            2                                                  MARCELLUS A. MCRAE
                                                               ASHLEY E. JOHNSON
            3                                                  GIBSON, DUNN & CRUTCHER LLP
            4

            5                                                  By: /s/ Ashley E. Johnson
            6                                                      Ashley E. Johnson

            7
                                                               Attorneys for Defendant AT&T MOBILITY, LLC
            8

            9
                 Dated: May 29, 2020                           CHRISTOPHER GRIVAKES
           10                                                  DAMION ROBINSON
                                                               AFFELD GRIVAKES LLP
           11

           12
                                                               By: /s/ Damion Robinson
           13                                                      Damion Robinson
           14                                                  Attorneys for Plaintiff ROBERT ROSS
           15

           16    Local Rule 5-1(i) attestation:
           17
                 Pursuant to Local Rule 5-1(i), I, Ashley E. Johnson, attest that concurrence in the filing of this
           18
                 document was obtained from the other signatory to this document.
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